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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND



 BRYCE CARRASCO,

         Plaintiff,                                       Civil Action

                  -against-                               No. 21-532-SAG

 M&T BANK,

         Defendant.



Can the Presiding Judge simply provide transparency?

Both parties are prejudiced by a lack of transparency, and both parties deserve some sort of
explanation from the Presiding Judge as to preliminary findings or general thoughts, and it
should be manifest that questions are welcomed by the parties if there remains any unclear topics
or issues. Asking questions is important in reaching a just determination, and the Judge must ask
questions if things are unclear, but to not provide any guidance over a period of 45 days is not
fair to myself or M&T Bank. I have specifically instructed in my pleadings that judicial guidance
and communication are welcomed, but the communication has nonetheless been lacking. We are
all human beings and no one is perfect, but it is essential that the Judge communicate with the
parties.

A phone call is necessary to preserve the sancity of these proceedings, with counsel and the
Presiding Judge. This will at least indicate that an effort is being made to address any
miscommunications and resolve any misunderstandings, rather than resorting to extraordinary
measures. I believe this can be resolved if a line of communication is opened for active dialogue
without pretense. This is my attempt in reaching a mutual understanding and to resolve the
problems through sincere discussions.

A telephone call this evening would preserve Plaintiff’s trust in this Court’s ability to impartially
administer the remainder of these proceedings.

/Bryce Carrasco
